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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 19-61455-CIV-SMITH

 DIVYA KHULLAR, et al.,

         Plaintiffs,
 v.

 BRIAN DEHAAN, et al.,

       Defendants.
 __________________________/

                       ORDER DISMISSING CASE WITHOUT PREJUDICE

         THIS CAUSE is before the Court on a sua sponte examination of the record. This case

 was filed on June 12, 2019.     Federal Rule of Civil Procedure 4(m) requires service of summons

 and complaint to be perfected upon defendants within 90 days after the filing of the complaint.

 Thus, the deadline under Rule 4(m) for Plaintiffs to serve Defendants was September 10, 2019.

 On August 21, 2019, Plaintiffs filed a motion for extension of time to serve Defendants.           The

 Court granted the Motion and instructed Plaintiffs to effectuate service no later than September

 30, 2019.   Plaintiffs did not effectuate service by that deadline.   Instead, on September 30, 2019,

 Plaintiffs filed a Motion for Extension of Time to File Amended Complaint [DE 17]. 1

         On October 3, 2019, the Court granted Plaintiffs’ Motion to File an Amended Complaint

 and instructed Plaintiffs to perfect service on Defendants no later than October 21, 2019.         The

 Order further stated that, “[f]ailure to file proof of service by that deadline, absent good cause, will




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   Plaintiffs filed an Amended Complaint (which is substantially similar to the original Complaint
 and adds no new defendant) on October 1, 2019. The Amended Complaint does not reset the
 time to serve under Rule 4(m). See O’Boyle v. Bradshaw, No. 12-81215-CIV, 2013 WL
 12342260, at *3 n.4 (S.D. Fla. June 17, 2013); Kennedy v. Grova, No. 11-61354-CIV, 2012 WL
 1368139, at *3 (S.D. Fla. Apr. 19, 2012).
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 result in a dismissal without prejudice and without further notice.” Plaintiffs have not complied

 with the Court’s Order, have not sought an extension of time within which to do so, and have not

 advised that a dismissal will result in a statute of limitations bar to re-filing.   Accordingly, it is

         ORDERED that

              1) The case is DISMISSED WITHOUT PREJUDICE.

              2) The Clerk of the Court is instructed to CLOSE the case.

              3) Any pending motions are DENIED AS MOOT.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 23rd day of October 2019.




 cc:     counsel of record




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